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14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17

18   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 25-cv-1766
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
19   M.H., CECILIA DANIELA GONZÁLEZ                  ADMINISTRATIVE MOTION OF
     HERRERA, ALBA CECILIA PURICA                    PLAINTIFFS M.H. AND E.R. TO
20   HERNÁNDEZ, E.R., and HENDRINA VIVAS             PROCEED UNDER PSEUDONYM
     CASTILLO,
21
                 Plaintiffs,
22          vs.
23   KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security, UNITED
24   STATES DEPARTMENT OF HOMELAND
     SECURITY, and UNITED STATES OF
25   AMERICA,
26                 Defendants.

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 1           Pursuant to Civil Local Rule 7-11, Plaintiffs M.H. and E.R. move for an order permitting

 2   each to proceed in this action under the respective pseudonyms “M.H.” and “E.R.” respectively, and

 3   requiring that the parties use these pseudonyms in all publicly filed documents. This Motion is based

 4   upon the memorandum of points and authorities in support filed herewith and is accompanied by the

 5   Declaration of M.H. (“M.H. Decl.”), the Declaration of E.R. (“E.R. Decl.”), the Declaration of

 6   Emilou MacLean in Support of Administrative Motion of Plaintiffs M.H. and E.R. to Proceed Under

 7   Pseudonym, and a Proposed Order.

 8                         MEMORANDUM OF POINTS AND AUTHORITIES

 9   I.      INTRODUCTION

10           Plaintiffs respectfully request leave for individual Plaintiffs (“M.H.” and “E.R.”) to proceed

11   in this litigation under the pseudonyms M.H. and E.R., respectively, and request that the parties be

12   required to use these pseudonyms in all publicly filed documents to protect their identities. These

13   plaintiffs are willing to share their voices with this Court, despite their well-founded fears that, by

14   doing so, they may suffer the consequences of retaliatory immigration decisions by the federal

15   government, other retaliation by the U.S. and/or Venezuelan governments, and harassment from

16   anti-immigrant actors in their local community. To prevent the harms of attaching their identities to

17   sensitive disclosures, M.H. and E.R. should be permitted to proceed using pseudonyms.

18   II.     ARGUMENT

19           The use of pseudonyms is allowed where necessary “to protect a person from harassment,

20   injury, ridicule or personal embarrassment.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d

21   1058, 1068 (9th Cir. 2000) (finding threat of retaliation “enhanced at this stage of litigation” because

22   there were only twenty-three plaintiffs, all nonresident foreign workers, among tens of thousands of

23   employees, and defendants had power to trigger deportation proceedings “almost instantly”) (citation

24   omitted). A party may proceed anonymously when his or her “need for anonymity outweighs

25   prejudice to the opposing party and the public’s interest in knowing the party’s identity.” Id. at 1067.

26   In the Ninth Circuit, a party may proceed anonymously in two circumstances applicable here: when

27   identification creates a risk of retaliatory physical or mental harm and when anonymity is necessary

28   to preserve privacy in a matter of a sensitive and highly personal nature. Id. at 1068.
                                                       1
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 1           When a party fears retaliation, the court balances: (1) the severity of the threatened harm,

 2   (2) the reasonableness of the anonymous parties’ fears, (3) the anonymous party’s vulnerability to

 3   retaliation, (4) prejudice to the opposing party, and (5) whether the public’s interest in the case

 4   requires that litigants reveal their identities. Doe v. Kamehameha Schools/Bernice Pauahi Bishop

 5   Estate, 596 F.3d 1036, 1042 (9th Cir. 2010). In cases involving privacy interests, courts also

 6   consider whether the individual is challenging governmental activity and whether there are less

 7   drastic means of protecting the legitimate interests of either party. Doe v. Goldman, 169 F.R.D. 138,

 8   139–40 (D. Nev. 1996) (internal citations omitted).

 9           Here, M.H. and E.R. should be permitted to proceed by pseudonyms for two reasons. First,

10   disclosure of their identity creates a significant risk of retaliatory harm in their particular cases.

11   Second, anonymity is necessary to preserve the privacy of their highly personal information,

12   including the identities of their children who also have Temporary Protected Status (“TPS”) and, in

13   the case of M.H., the identity of her husband who is employed by a U.S. government subcontractor.

14   M.H. and E.R.’s fears are well-founded, and their need for anonymity does not prejudice the

15   opposing party and actually furthers the public interest, and there is no less drastic means of

16   protecting their privacy interests.

17           A.      Disclosure of M.H.’s and E.R.’s Identities Creates a Risk of Retaliatory Harm.

18           M.H. and E.R. are individual Plaintiffs and Venezuelans who have TPS under the 2023

19   designation. As a result of the challenged vacatur and termination, M.H. and E.R. are at risk of

20   imminently losing their TPS. They should be permitted to proceed anonymously because disclosure

21   of their identities would create a risk of retaliatory harm.

22                   1.      M.H. and E.R. reasonably fear immigration status retaliation against

23                           themselves and their children.

24           M.H. and E.R. are submitting declarations in support of challenges to governmental activity

25   terminating their TPS. M.H’s 7-year-old daughter and E.R.’s 12-year-old daughter also have TPS.

26   M.H. Decl., ¶ 2, E.R. Decl., ¶ 15. M.H. and E.R. have well-grounded fears of adverse immigration

27   consequences for both themselves and their daughters if they publicly identify with this litigation,

28   especially given that Defendants are government agencies. Advanced Textile, 214 F.3d at 1068
                                                   2
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 1   (acknowledging that plaintiffs may reasonably fear facing retaliation from defendant-employer).

 2   TPS is currently both M.H. and E.R.’s only form of protection from deportation. M.H. Decl., ¶ 9,

 3   E.R. Decl., ¶¶ 10, 25. If M.H. and E.R. must secure an alternative form of immigration relief or

 4   otherwise oppose immigration enforcement, they will have continued interactions with Defendants

 5   in their individual cases, during and after the litigation, and retaliation may come in the form of

 6   undue delay or adverse action to the processing of alternative forms of relief, or in connection with

 7   any immigration enforcement.

 8                  2.      M.H. reasonably fears employment discrimination against her husband.

 9          M.H.’s husband is a U.S. citizen and an engineer employed by a government subcontractor,

10   and M.H. has legitimate fear of retaliatory consequences against her husband. M.H. Decl., ¶ 20;

11   Advanced Textile Corp., 214 F.3d at 1070 (holding that economic injuries inflicted by third parties,

12   such as termination or blacklisting, may be sufficient to justify anonymous proceedings, where such

13   injuries carry “extraordinary” consequences). M.H. is a full-time caregiver, and she and her family

14   depend on her husband’s income for their survival. M.H. Decl., ¶¶ 14, 16. The federal government

15   has been actively engaged in efforts in recent weeks to summarily dismiss federal workers, terminate

16   existing contracts, and otherwise retaliate against those affiliated with the government.1 M.H. and

17   her husband have a well-founded fear that should their identities become public, the federal

18   government may act to terminate her husband’s current employment, decrease her husband’s chance

19   of securing future government or government-affiliated positions, or list both M.H. and her husband

20   on the government watchlist.

21                  3.      M.H. and E.R. reasonably fear harassment and physical harm.

22          M.H. and E.R. have legitimate fears that if they disclose their identities, they and their

23   families would be subject to risk of harassment and physical harm due to their immigration status.

24   1
       See Shannon Bond, et al., Layoffs accelerate at federal agencies with more cuts to come, NPR
     (Feb. 14, 2025), available at https://www.npr.org/2025/02/14/nx-s1-5298144/federal-layoffs-usda-
25   hud-defense-trump (describing “[a] sweeping wave of terminations [that] has already affected
     thousands of [government] employees…”); Jeremy Herb, Hannah Rabinowitz, & Evan Perez, Trump
26   touts political firings and retribution as he begins a government overhaul in his image, CNN (Jan.
     21, 2025), available at https://www.cnn.com/2025/01/21/politics/trump-touts-political-firings-and-
27   retribution-and-installs-loyalists-at-key-posts/index.html (describing “Trump’s political retribution
     tour [that] began [] with firings of his perceived enemies inside the federal government….[a]long
28   with the firings of federal workers…”).
                                                        3
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 1   M.H. Decl., ¶¶ 21-22 (describing growing anti-immigrant sentiment in M.H.’s community in

 2   Tennessee). Parties can proceed anonymously if they have legitimate concerns that public

 3   identification would make them easy targets of intense anti-immigrant and anti-Latino sentiment.

 4   Lozano v. City of Hazleton, 496 F. Supp. 2d 477, 507 (M.D. Pa. 2007), aff’d in part, vacated in part,

 5   620 F.3d 170 (3d Cir. 2010), cert. granted, judgment vacated sub nom. City of Hazleton, Pa. v.

 6   Lozano, 563 U.S. 1030 (2011), and aff’d in part, rev’d in part, 724 F.3d 297 (3d Cir. 2013).

 7          B.      M.H. and E.R. Are Vulnerable to Retaliation in Venezuela.

 8          M.H. and E.R. are in an extremely vulnerable position. If they and their children lose their

 9   TPS, they may be forcibly removed to Venezuela. If their identifies are revealed and they are

10   removed to Venezuela, they face the risk of retaliatory action from the Venezuelan government for

11   seeking asylum in the United States, or for statements that they have made concerning their

12   opposition to the Maduro regime.

13          C.      Anonymity is Necessary to Protect Highly Personal Information.

14          M.H. and E.R. should also be permitted to proceed anonymously for the independent reason

15   that anonymity is necessary to “preserve privacy in a matter of sensitive and highly personal nature.”

16   Advanced Textile, 214 F.3d at 1068. M.H. and E.R.’s declarations disclose intimate information

17   about their own and their children’s immigration status, which constitutes “sensitive and highly

18   personal” information. See, e.g., Int’l Refugee Assistance Project v. Trump, 2017 WL 818255, at *2

19   (D. Md. Mar. 1, 2017) (explaining plaintiffs’ immigration status “ha[s] been deemed to be

20   sufficiently sensitive and personal in nature to support plaintiffs’ use of pseudonyms under

21   appropriate circumstances”; collecting cases); see also 214 F.3d at 1169 (crediting plaintiffs’ “highly

22   vulnerable [immigration] status” as a factor weighing in favor of allowing plaintiffs to proceed

23   anonymously). Accordingly, for this reason, too, they should be permitted to proceed anonymously.

24          D.      Defendants Will Not Be Prejudiced by M.H. and E.R.’s Anonymity.

25          Defendants will suffer no prejudice by not knowing the identities of M.H. and E.R., who are

26   the only plaintiffs who have elected to proceed under pseudonym. Their anonymity will not prevent

27   Defendants from preparing a defense at this stage, and procedural mechanisms could be employed

28   during the discovery phase, if any, to ensure that discovery could occur. See E.E.O.C. v. ABM Indus.
                                                      4
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 1   Inc., 249 F.R.D. 588, 594 (E.D. Cal. 2008).

 2            E.     Permitting M.H. and E.R. to Proceed Anonymously Furthers the Public’s

 3                   Interest.

 4            Although the public ordinarily has an interest in knowing the names of participants in

 5   lawsuits, that interest is outweighed where, as here, the public has an overriding interest in ensuring

 6   that individuals bring judicial challenges to government action that may violate constitutional rights

 7   and rights under the Administrative Procedure Act and the equal protection component of the Fifth

 8   Amendment’s Due Process Clause. See, e.g., Advanced Textile Corp., 214 F.3d at 1073

 9   (“[P]ermitting plaintiffs to use pseudonyms will serve the public’s interest in this lawsuit by enabling

10   it to go forward.”); Rivera v. NIBCO, Inc., 364 F.3d 1057, 1065 (9th Cir. 2004) (“The chilling effect

11   [that discovery of immigration status of workers] could have on the bringing of civil rights actions

12   unacceptably burdens the public interest.”).

13            Moreover, allowing M.H. and E.R. to proceed pseudonymously will not obstruct public

14   scrutiny of the important issues here. Although M.H. and E.R. seek to proceed pseudonymously due

15   to the risks of retaliation against their family, the other Plaintiffs in this case have bravely elected to

16   proceed publicly. Furthermore, the nature of the legal challenge brought by Plaintiffs has almost

17   nothing to do with M.H. and E.R.’s specific identities. See Kamehameha Schools, 596 F.3d at 1043

18   (stating, in the context of a challenge to a private school’s allegedly race-based admissions policy,

19   that “it is difficult to see how disguising plaintiffs’ identities will obstruct public scrutiny of the

20   important issues” because the plaintiff children brought “claims of widespread discrimination”).

21   III.     CONCLUSION

22            For the foregoing reasons, Plaintiffs request leave for M.H. and E.R. to proceed under

23   pseudonyms in this case.

24    Date: February 19, 2025                                 Respectfully submitted,
25
                                                              ACLU FOUNDATION
26                                                            OF NORTHERN CALIFORNIA

27                                                             /s/ Emilou MacLean
                                                              Emilou MacLean
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                                              5
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     PLAINTIFFS’ ADMINISTRATIVE MOTION TO PROCEED UNDER PSEUDONYM– CASE NO. 25-CV-1766
